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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


IN RE: INTEREST RATE SWAPS
ANTITRUST LITIGATION                          Case No.   16-MD-2704 (JPO)


This Document Pertains To:                    Hon. J. Paul Oetken

ALL CLASS ACTION CASES




      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
      PRELIMINARY APPROVAL OF THE NEW SETTLEMENT AGREEMENT
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                                PRELIMINARY STATEMENT

       After extensive negotiations, and eight years of litigation, Plaintiffs have reached a

settlement agreement with all remaining Defendants in this case. 1 The settlement includes a $46

million cash payment, bringing the total cash value of settlements in the case to $71 million. See

June 27, 2024 Decl. of Daniel L. Brockett (“June 2024 Brockett Decl.”), Ex. 1 (“New Settlement

Agreement” or “NSA”). In return, Plaintiffs have agreed to release the Newly Settling

Defendants and related entities from the claims arising from or related to the factual predicate of

this action. If approved, the settlement will deliver substantial cash relief to the proposed

Settlement Class and bring to a close more than eight years of protracted litigation.

       The settlement represents an excellent recovery for the class given the challenges and

uncertainties of further litigation. The settlement is the product of extensive arm’s-length

negotiations between experienced counsel. Based on our experience and knowledge of the

claims and defenses at issue, Co-Lead Counsel believe that the settlement is in the best interests

of the Settlement Class, and the Named Plaintiffs fully support the New Settlement Agreement.

Plaintiffs thus respectfully submit that the settlement is fair, reasonable, and adequate, and thus

meets all of the requirements for certification and preliminary approval of a settlement class.



       1
         Those Defendants, hereinafter “Newly Settling Defendants,” are: Bank of America
Corporation; Bank of America, N.A.; Merrill Lynch, Pierce, Fenner & Smith Incorporated (n/k/a
BofA Securities, Inc.); Barclays Bank PLC; Barclays Capital Inc.; BNP Paribas, S.A.; BNP
Paribas Securities Corp.; Citigroup Inc.; Citibank, N.A.; Citigroup Global Markets Inc.;
Citigroup Global Markets Limited; Deutsche Bank AG; Deutsche Bank Securities Inc.; The
Goldman Sachs Group, Inc.; Goldman, Sachs & Co. LLC; Goldman Sachs Bank USA; Goldman
Sachs Financial Markets, LP; Goldman Sachs International; JPMorgan Chase & Co.; JPMorgan
Chase Bank, N.A.; J.P. Morgan Securities LLC; J.P. Morgan Securities plc; Morgan Stanley;
Morgan Stanley Bank, N.A.; Morgan Stanley & Co. LLC; Morgan Stanley Capital Services
LLC; Morgan Stanley Derivative Products Inc.; Morgan Stanley & Co. International plc; Morgan
Stanley Bank International Limited; NatWest Group plc (f/k/a The Royal Bank of Scotland
Group plc); NatWest Markets plc (f/k/a Royal Bank of Scotland plc); NatWest Markets
Securities Inc. (f/k/a RBS Securities Inc.); UBS AG; and UBS Securities LLC.


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Plaintiffs seek entry of the proposed Preliminary Approval Order submitted herewith. See NSA,

Ex. A (the “Preliminary Approval Order”).

         REQUESTED TWO-STEP PRELIMINARY APPROVAL PROCEDURE

       Plaintiffs previously requested preliminary approval of a settlement with the Credit

Suisse Defendants. See Mot. for Prelim. Approval with Credit Suisse, ECF No. 977. That

motion is still pending. Assuming that both the Credit Suisse settlement and the New Settlement

are preliminarily approved at or around the same time, Plaintiffs intend to give class members a

single notice of their rights under both settlements. Plaintiffs also intend for the settlement funds

to be distributed pursuant to a substantially similar plan of allocation.

       Before we can put in place the processes necessary to create a notice plan, an allocation

plan, and a path towards a fairness hearing for both settlements, the Court must first grant

preliminary approval of the settlement terms themselves. By this motion, as with the Credit

Suisse preliminary approval motion, Plaintiffs seek only preliminarily approval of the settlements

themselves. Preliminary approval of the settlements is an important first step not just because

prompt action is a contractual requirement under both settlements; it is important because the

class does not receive the settlement funds—and thus, cannot benefit from earning interest—

until preliminary approval is granted. See NSA ¶ 3.1; Credit Suisse Settlement Agreement ¶ 3.1,

ECF No. 979-1.

       This two-step structure ensures that the parties have an initial preliminary approval of the

settlements before undertaking the substantial burden of developing a notice and allocation plan.




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Similar two-step preliminary approval processes have been adopted in several recent class action

settlements in this District. 2

        Accordingly, Plaintiffs request the Court approve a two-step preliminary approval

process, so that settlement administration can proceed expeditiously and class members can

begin to benefit from the accrual of interest on the settlement amounts. Plaintiffs’ motion for

approval of the notice and allocation plans, and then eventually their motion for final approval,

would follow in due course.

                                  PROCEDURAL BACKGROUND

        More than eight years ago, after a proprietary and independent investigation, Cohen

Milstein Sellers & Toll PLLC (“Cohen”) and Quinn Emanuel Urquhart & Sullivan, LLP

(“Quinn”) (collectively “Co-Lead Counsel”) filed an initial complaint in this litigation alleging a

conspiracy among major dealers in Interest Rate Swaps (“IRS”) to jointly boycott efficient all-to-

all trading platforms. Class Action Compl., Pub. School Tchrs.’ Pension & Ret. Fund of Chi. v.

Bank of Am. Corp., No. 15-cv-9319-PAE (S.D.N.Y. Nov. 25, 2015), ECF No. 1. Subsequent

complaints followed and were consolidated in a multidistrict litigation assigned to Judge

Engelmayer. Op. & Order No. 4 at 2, 6, ECF No. 99; Order No. 1, ECF No. 11. Co-Lead

Counsel were appointed in August 2016. Op. & Order No. 4, ECF No. 99. Defendants’ motions




        2
         See, e.g., Order Preliminarily Approving Settlement Agreement, Iowa Public
Employees’ Ret.t Sys. v. Bank of Am. Corp., No. 1:17-cv-6221-KPF (Sept. 1, 2023), ECF No.
654; Order Preliminarily Approving the Deutsche Bank Settlement Agreement, In re Commodity
Exch. Inc. Gold Futures & Options Trading Litig., No. 14-md-2548-VEC (S.D.N.Y. Dec. 9,
2016), ECF No. 187; Order Preliminarily Approving Class Action Settlement, In re London
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of Am. Corp., No. 14-cv-7126-JMF (S.D.N.Y. May 11, 2016), ECF No. 228; Order Preliminarily
Approving Settlements, In re Foreign Exch. Benchmark Rates Antitrust Litig., No. 13-cv-7789-
LGS (S.D.N.Y. Dec. 15, 2015), ECF No. 536.


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to dismiss were extensively briefed and argued, and in July 2017, the Court granted in part and

denied in part the motions. Op. & Order, ECF No. 237.

        The parties engaged in extensive discovery, reviewing millions of documents, analyzing

more than 150,000 individual transactions, and completing more than 150 depositions in three

countries. The parties briefed Plaintiffs’ extensive class certification motion over the course of

more than nine months, including a sur-reply, concluding in November 2019. 3

        While the parties were briefing certification, Judge Engelmayer recused himself due to an

emergent potential conflict in September 2019, and the case was transferred to Judge Oetken.

Order, ECF No. 844.

        In January 2022, while the class certification motion was pending, Plaintiffs settled with

Defendant Credit Suisse and related entities. See Mot. for Prelim. Approval with Credit Suisse,

ECF No. 977. The Court has not yet ruled on that motion.

        In December 2023, the Court denied Plaintiffs’ motion for class certification. Op. &

Order, ECF No. 1054. Plaintiffs filed a petition under Federal Rule of Civil Procedure 23(f) to

appeal the Court’s decision, which remains undecided. See Pub. Sch. Tchrs.’ Pension & Ret.

Fund of Chi. v. Bank of Am. Corp., No. 24-81 (2d Cir.). Plaintiffs also sought leave from the

Court to file a motion for certification of a 23(c)(4) issue class targeted at the threshold liability

question whether Defendants violated the antitrust law. The Court has not ruled on that motion

either. See Letter Mot., ECF No. 1063 at 1-8.




        3
          See Mem. of Law in Supp. of Class Pls.’ Mot. for Class Certification, ECF No. 723
(“Opening Cert. Br.”); Defs.’ Mem. of Law in Opp’n to Pls.’ Mot. for Class Certification, ECF
No. 815 (“Cert. Opp’n”); Reply Mem. of Law in Supp. of Pls.’ Mot. for Class Certification, ECF
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        In a teleconference on January 10, 2024, the Court sought letter briefing on the effect of

the Court’s denial of certification for the litigation class on its authority to certify a settlement

class. See Minute Entry (Jan. 10, 2024). On January 31, 2024, Plaintiffs submitted a letter citing

authority for the notion that courts routinely certify settlement-only classes, even after denying a

motion for certification of a litigation class. See Letter Mot., ECF No. 1063 at 8-11.

                          SUMMARY OF THE NEW SETTLEMENT

        Settlement Amount. The monetary component of the New Settlement Agreement is $46

million (the “Settlement Amount”). NSA ¶ 1.39. Following preliminary approval, the

Settlement Amount will be wired into an Escrow Account and invested in interest-bearing U.S.

Government instruments. NSA ¶ 3.1. The Settlement Amount, less any applicable taxes,

attorneys’ fees, service awards and expenses, will be distributed to Authorized Claimants in

accordance with an allocation plan to be approved by the Court and included in the Class Notice

prior to Final Approval. See NSA ¶ 7.4. No portion of the Settlement Amount may be returned

to the Newly Settling Defendants unless the New Settlement Agreement is terminated due to the

Court’s disapproval or a materially significant portion of Settlement Class Members opt out of

the settlement. See NSA ¶ 7.11, § 10.

        Settlement Class Definition. The New Settlement Agreement is made on behalf of a

proposed Settlement Class defined as:

        [A]ll persons or entities who, directly or through an agent, entered into one or
        more U.S. IRS Transactions with any Defendant during the Settlement Class
        Period. 4


        4
          “Excluded from the Settlement Class are Defendants and their officers, directors,
management, employees, and current subsidiaries or affiliates. Also excluded are any entities
registered as “swap” dealers with the Commodity Futures Trading Commission (‘CFTC’) during
the Class Period, the United States Government, and all of the Released Settling Defendant
Parties, provided, however, that Investment Vehicles shall not be excluded from the definition of
the Settlement Class.” NSA ¶ 1.40.


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NSA ¶ 1.40. This definition closely mirrors the class definition sought in Plaintiffs’ motion for

class certification, see Opening Cert. Br. at 2, and the one set forth in the prior Credit Suisse

settlement. See Credit Suisse Settlement Agreement, ECF No. 979-1, at ¶ 1.39. The Settlement

Class Period is from January 1, 2008 through June 10, 2024. NSA ¶ 1.42. A U.S. IRS

Transaction:

       means a fixed-for-floating, floating-for-fixed, or floating-for-floating interest rate
       swap, forward rate agreement, single-currency basis swap, or overnight index
       swap, in any currency, executed or cleared (i) by or on behalf of a Person either
       domiciled or located (e.g., had a principal place of business) in the United States
       or its territories at the time of such execution [and] clearing; or (ii) by or on behalf
       of a Person that was domiciled and located outside the United States and its
       territories at the time of any such execution or clearing, where such execution or
       clearing was in United States commerce or otherwise falls within the scope of the
       U.S. antitrust laws, regardless of the form or manner in which the transaction was
       consummated.

NSA ¶ 1.50. This definition is intended to clarify the definition of “U.S. IRS Transaction” set

forth in the Credit Suisse Settlement Agreement. See Credit Suisse Settlement Agreement, ECF

No. 979-1, at 1.49.

       Release of Claims. With Court approval and after the judgment is final, all claims

asserted in the Action by Plaintiffs will be dismissed with prejudice as against the Newly Settling

Defendants. Additionally, Plaintiffs (and anyone claiming through or on behalf of them) will be

permanently barred and enjoined from asserting any of the Released Class Claims against the

Released Settling Defendant Parties. See NSA § 6. “Released Class Claims” is defined as:

       [A]ny and all manner of claims, including Unknown Claims . . . against the
       Released Settling Defendant Parties, arising from or related in any way to the
       conduct alleged or that could have been alleged in the Action, that also arise from
       or relate to the factual predicate of the Action, to the fullest extent allowed by
       law, from the beginning of time through the Execution Date.

NSA ¶ 1.32. See, e.g., Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 106-07 (2d Cir.

2005) (“The law is well established in this Circuit and others that class action releases may



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include claims not presented and even those which could not have been presented as long as the

released conduct arises out of the ‘identical factual predicate’ as the settled conduct.”).

         The settlement also includes a release of claims by the Releasing Settling Defendant

Parties against the Released Class Members for claims related to the “institution, prosecution, or

settlement of the Released Class Claims.” NSA ¶¶ 1.34, 6.3. The releases do not cover claims

relating to enforcement of the settlement.

         Termination Provisions. Termination of the settlement is permitted only in the unlikely

event that this Court or any appellate court issues a final order that in any material respect: (i)

declines to enter the Preliminary Approval Order; (ii) refuses to approve the New Settlement

Agreement; or (iii) declines to enter the Judgment and Order of Dismissal; or if (iv) the

Judgment and Order of Dismissal is modified or reversed by a court of appeal or any higher

court in any material respect. NSA ¶ 10.1. In addition, if Settlement Class members

representing 7.5% or more of IRS trading volume exclude themselves from the settlement, the

Newly Settling Defendants may terminate the New Settlement Agreement. NSA ¶ 10.2.

         Reduction of Judgment. As with the Credit Suisse agreement, the New Settlement

Agreement contains a setoff provision. Plaintiffs have agreed that the maximum amount they

will enforce from any judgment against any non-settling Defendants in this Action will be

reduced by 93.98% of the jury’s award. NSA ¶ 11.21. Plaintiffs agreed to the term because they

believe the total benefits of the settlement outweigh the total rights that are released, even

accounting for this term—and because, if both the New Settlement Agreement and the Credit

Suisse Agreement are approved, there will be no “non-settling Defendants,” thus mooting this

issue.




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       Attorneys’ Fees, Expenses, and Service Awards. The New Settlement Agreement

reserves Plaintiffs’ right to request interim attorneys’ fees, reimbursement of expenses, and/or

class representative service awards. See NSA § 8. The Settlement Class would be given notice

of any such application or applications, which also would be subject to Court approval.

                                           ARGUMENT

I.     THE SETTLEMENT MEETS THE STANDARD FOR PRELIMINARY
       APPROVAL

       Rule 23(e) requires court approval of a proposed class action settlement upon finding that

the proposal “is fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). The preliminary

approval process is governed by a “likelihood standard,” requiring the Court to assess whether

the parties have shown that “the court will likely be able to grant final approval and certify the

class.” In re Payment Card Interchange Fee & Merch. Dis. Antitrust Litig., 330 F.R.D. 11, 28

n.21 (E.D.N.Y. 2019). In conducting a preliminary approval inquiry, a court considers both the

“negotiating process leading up to the settlement, i.e., procedural fairness, as well as the

settlement’s substantive terms, i.e., substantive fairness.” In re Platinum & Palladium

Commodities Litig., 2014 WL 3500655, at *11 (S.D.N.Y. July 15, 2014).

       Under Rule 23(e)(2), in weighing preliminary approval, the Court must consider whether:

“(A) the class representatives and class counsel have adequately represented the class; (B) the

proposal was negotiated at arm’s length; (C) the relief provided for the class is adequate . . . ; and

(D) the proposal treats class members equitably relative to each other.” Fed. R. Civ. P. 23(e)(2).

“Paragraphs (A) and (B) constitute the ‘procedural’ analysis factors, and examine ‘the conduct of

the litigation and of the negotiations leading up to the proposed settlement.’ Paragraphs (C) and

(D) constitute the ‘substantive’ analysis factors, and examine ‘[t]he relief that the settlement is

expected to provide to class members.’” Payment Card, 330 F.R.D. at 29 (quoting Fed. R. Civ.



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P. 23 advisory committee’s note to 2018 amendment). These “factors . . . add to, rather than

displace,” the factors traditionally considered in the Second Circuit. Id.; accord Moses v. N.Y.

Times Co., 79 F.4th 235, 243 (2d Cir. 2023).

       A.      The Settlement Is Procedurally Fair

       “To determine procedural fairness, courts examine the negotiating process leading to the

settlement.” Morris v. Affinity Health Plan, Inc., 859 F. Supp. 2d 611, 618 (S.D.N.Y. 2012).

While courts examine the 23(e)(2) factors “holistically,” “the arms-length quality of the

negotiations remain a factor in favor of approving the settlement.” Moses v. N.Y. Times Co., 79

F.4th 235, 243 (2d Cir. 2023).

       In the wake of the Court’s decision on class certification and the parties’ briefing on

Plaintiffs’ subsequent 23(f) motion, the New Settlement Agreement was reached through

intensive settlement negotiations among experienced counsel. Over a series of telephone

meetings and emails, the Settling Parties’ counsel exchanged views on the strengths and

weaknesses of Plaintiffs’ case in light of the recent case developments and the Newly Settling

Defendants’ defenses, and engaged in significant back-and-forth on the Settlement Amount and

other terms of the New Settlement Agreement. This included both calls and emails individually

with counsel for certain banks as well as group calls and emails.

       In recommending that the Court approve the settlement, Co-Lead Counsel have taken

into account the uncertain outcome and risks of further litigation, and believe the settlement

confers significant benefits to class members in light of the circumstances here.

       B.      The Settlement Is Substantively Fair

       In granting preliminary approval, courts must make a preliminary determination that the

substantive terms of the proposed settlement are “fair, reasonable, and adequate.” Fed. R. Civ. P.

23(e)(2). Courts in this Circuit have traditionally analyzed the “Grinnell factors” in assessing


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whether a proposed settlement is fair, reasonable, and adequate. See City of Detroit v. Grinnell

Corp., 495 F.2d 448, 463 (2d Cir. 1974) (listing factors), abrogated in part on other grounds,

Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000). As noted above, the Grinnell

factors have not been displaced by the 2018 amendments to Rule 23(e). See Payment Card, 330

F.R.D. at 29. Each factor supports preliminary approval.

               1.      The complexity, expense, and likely duration of the litigation

       “Antitrust class actions ‘are notoriously complex, protracted, and bitterly fought.’”

Meredith Corp. v. SESAC, LLC, 87 F. Supp. 3d 650, 661 (S.D.N.Y. 2015); see also Virgin Atl.

Airways Ltd. v. British Airways PLC, 257 F.3d 256, 263 (2d Cir. 2001) (noting the “factual

complexities of antitrust cases”). This case—which has already been pending for eight years,

with more to come unless the settlement is approved—is no different. From the initial motions

to dismiss through discovery, depositions, and class certification briefing, sophisticated counsel

intensely contested each stage of the case. Plaintiffs, and presumably Defendants as well, have

spent tens of millions of dollars on expert fees and other expenses, and dedicated tens of millions

of dollars in attorney time to pursuing the litigation. Further stages of the litigation, including

appeal of the Court’s denial of class certification, summary judgment, trial, and further appeals,

will surely be just as extensively and expensively contested.

       Plaintiffs are confident of Defendants’ liability and the likelihood of prevailing at trial,

but are also mindful that the Court has denied class certification and the remaining avenues for

litigating as a class, and later prevailing at trial, are uncertain no matter how strong the case,

especially when opposing counsel are as sophisticated and well-resourced as they are here. In

short, “[t]here can be no doubt that this class action would be enormously expensive to continue,

extraordinarily complex to try, and ultimately uncertain of result.” In re Nasdaq Mkt.-Makers




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Antitrust Litig. (“Nasdaq III”), 187 F.R.D. 465, 477 (S.D.N.Y. 1998). This factor weighs in

favor of preliminary approval.

               2.      The reaction of the class to the settlement

       While notice has yet to be provided to potential members of the settlement class, courts

generally do not consider this Grinnell factor at the preliminary approval stage. See Reade-

Alvarez v. Eltman, Eltman & Cooper, P.C., 237 F.R.D. 26, 34 (E.D.N.Y. 2006) (“Clearly, some

of these [Grinnell] factors, particularly the reaction of the class to the settlement, are impossible

to weigh prior to notice and a hearing.”). In any event, all of the named Plaintiffs approve of this

settlement, and should any objections from Settlement Class Members be received prior to the

Fairness Hearing, Co-Lead Counsel will address those concerns in the final approval papers.

               3.      The stage of the proceedings

       The “stage of the proceedings” factor ultimately concerns “whether the plaintiffs have

obtained a sufficient understanding of the case to gauge the strengths and weaknesses of their

claims and the adequacy of the settlement.” In re AOL Time Warner, Inc. Sec. & “ERISA”

Litig., 2006 WL 903236, at *10 (S.D.N.Y. Apr. 6, 2006). Here, the parties have extensively

litigated and assessed the strengths and weaknesses of Plaintiffs’ case. They have the benefit of

millions of documents, more than 150 fact and expert depositions, and a full ventilation of

Plaintiffs’ class certification arguments and the Court’s decision, including a methodology for

assessing damages and Plaintiffs’ aggregate damages estimate. The parties have also fully

briefed a Rule 23(f) appeal and letter briefing on moving for a Rule 23(c)(4) “issue class.” Due

to this work, the depth of Co-Lead Counsel’s knowledge of the strengths and potential

weaknesses of their claims is more than adequate to support the settlement.




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               4.      The risks of establishing liability and damages

       In assessing this factor, “the Court should balance the benefits afforded the Class,

including the immediacy and certainty of a recovery, against the continuing risks of litigation.”

Flores v. Mamma Lombardi’s of Holbrook, Inc., 104 F. Supp. 3d 290, 303 (E.D.N.Y. 2015). As

noted above, Co-Lead Counsel are confident of their liability and damages cases, but nothing in

litigation is ever certain and Plaintiffs will continue to be opposed by sophisticated and well-

resourced defense counsel.

       Defendants have throughout the litigation made clear their intent to challenge, among

other things: whether any conspiracy existed at all; the viability of the boycotted all-to-all

trading platforms that would allegedly have reduced spreads in the but-for world; and the

existence and extent of damages. For instance, as noted above, Defendants filed motions to

dismiss, arguing, among other things, that the Amended Complaint: (i) failed to plausibly allege

a violation of Section 1 of the Sherman Act; and (ii) failed to adequately allege antitrust

standing. See generally Dealer Defs.’ Mem. in Supp. of Their Renewed Joint Mot. to Dismiss,

ECF No. 160. Although these arguments were largely (and correctly) rejected at the pleading

stage, absent this settlement, Defendants were prepared to vigorously contest liability and

damages on these and other grounds at summary judgment, trial, and on appeal.

       Even if liability was established at trial, Plaintiffs would face the complexities inherent in

proving damages to the jury. There is no doubt that at trial the issue inevitably would involve a

“battle of the experts.” Nasdaq III, 187 F.R.D. at 476. “In this ‘battle of experts,’ it is virtually

impossible to predict with any certainty which testimony would be credited, and ultimately,

which damages would be found to have been caused by actionable, rather than the myriad

nonactionable factors . . . .” In re Warner Commc’ns Sec. Litig., 618 F. Supp. 735, 744-45

(S.D.N.Y. 1985). Thus, there is a risk that a jury might accept one or more of Defendants’


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damages arguments and award nothing at all or award less than the $46,000,000, that, if

approved, would be available to the Settlement Class under this settlement ($71,000,000 with the

Credit Suisse settlement). “Indeed, the history of antitrust litigation is replete with cases in

which antitrust plaintiffs succeeded at trial on liability, but recovered no damages, or only

negligible damages, at trial, or on appeal.” Nasdaq III, 187 F.R.D. at 476. See generally U.S.

Football League v. National Football League, 842 F.2d 1335 (2d Cir. 1988) (affirming judgment

despite $1.00 jury award).

        Put another way, there is no doubt that the Newly Settling Defendants, represented by

experienced counsel, would present sophisticated arguments to the Court at each step of the

litigation. When weighed against the risks of continued litigation, the significant, immediate,

and certain benefits to the Settlement Class weigh in favor of preliminary approval.

                5.      The risks of maintaining a class action through trial

        A detailed discussion of the risks flowing from the Court’s denial of class certification

would be inappropriate, lest Plaintiffs’ strategic thinking be revealed if the Court does not

approve the settlement. Suffice it to say that, in light of this Court’s denial of class certification,

each of the potential courses of action open to Plaintiffs—Second Circuit review under Rule

23(f) and permission to seek to certify a class under Rule 23(c)(4)—are highly uncertain. This

factor weighs heavily in favor of approval.

                6.      The ability of the Newly Settling Defendants to withstand a greater
                        judgment

        “[I]n any class action against a large corporation, the defendant entity is likely to be able

to withstand a more substantial judgment, and, against the weight of the remaining factors, this

fact alone does not undermine the reasonableness of the instant settlement.” Weber v. Gov’t




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Emps. Ins. Co., 262 F.R.D. 431, 447 (D.N.J. 2009). Here, the financial obligations the settlement

imposes are substantial. This factor does not weigh against preliminary approval.

               7.      The reasonableness of the settlement in light of the best possible recovery
                       and attendant litigation risks

       The range-of-reasonableness factor weighs the relief provided in a settlement against the

strength of the plaintiff’s case, including the likelihood of obtaining a recovery at trial. This

factor “recognizes the uncertainties of law and fact in any particular case and the concomitant

risks and costs necessarily inherent in taking any litigation to completion.” Newman v. Stein,

464 F.2d 689, 693 (2d Cir. 1972). In applying this factor “the Settlement must be judged ‘not in

comparison with the possible recovery in the best of all possible worlds, but rather in light of the

strengths and weaknesses of plaintiffs’ case.’” Shapiro v. JPMorgan Chase & Co., 2014 WL

1224666, at *11 (S.D.N.Y. Mar. 24, 2014) (quoting In re “Agent Orange” Prod. Liab. Litig.,

597 F. Supp. 740, 762 (E.D.N.Y. 1984), aff’d 818 F.2d 145 (2d Cir. 1987)).

       Defendants vigorously argued against Plaintiffs’ attempt to show substantial damages,

and in fact disputed that Plaintiffs were entitled to any damages. See generally, e.g., Cert.

Opp’n. Defendants’ arguments against class certification primarily focused on whether Dr.

Grinblatt’s methodology for calculating damages supported a finding of classwide impact, but

many of those arguments (including those credited by the Court) implicitly attack Plaintiffs’

ability to prove damages as well. See id. at 20-63; Cert. Sur-Reply at 7-16. Defendants also

sought to limit the scope of instruments included in Plaintiffs’ proposed class, and if successful

these attacks would dramatically reduce potential damages. See Cert. Opp’n at 63-88; Cert. Sur-

Reply at 16-25. And regardless of what Plaintiffs’ damages might be calculated to be in the

abstract, such a recovery against would not be guaranteed given the risks of proving liability and

damages. See supra § I.B.4.



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       Given these risks, the $46 million settlement is an excellent result for the Settlement

Class (especially when considered with the Credit Suisse settlement for a total of $71 million).

Indeed, as recognized by the Second Circuit, because of the riskiness of litigation, “[i]n fact there

is no reason . . . why a satisfactory settlement could not amount to a hundredth or even a

thousandth part of a single percent of the potential recovery.” Grinell, 495 F.2d at 455 n.2.

Where, as here, Plaintiffs would face an extremely uncertain path to a full trial victory on behalf

of the Class, and particularly in light of this Court’s denial of Plaintiffs’ motion for class

certification, the $46 million settlement and $71 million total recovery is a respectable result for

class members who, if those risks materialize, would likely be unable to recover anything at all. 5

       C.      The Rule 23(e)(2) Factors Support Preliminary Approval of the Settlement

               1.      Rule 23(e)(2)(A)—Plaintiffs and Co-Lead Counsel have adequately
                       represented the class

       Adequacy requires determining whether “1) plaintiff’s interests are antagonistic to the

interest of other members of the class and 2) plaintiff’s attorneys are qualified, experienced and

able to conduct the litigation.” Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52,

60 (2d Cir. 2000).

       As to Plaintiffs’ adequacy, Plaintiffs are entities that entered IRS transactions as defined

in the Settlement Class definition. June 2024 Brockett Decl. ¶ 3; NSA ¶¶1.40, 1.42. Where, as

here, Plaintiffs and members of the Settlement Class share “an interest in proving the existence

of Defendants’ conspiracy” and “in maximizing the aggregate amount of classwide damages,”

the adequacy requirement is satisfied. In re NASDAQ Mkt.-Makers Antitrust Litig., 169 F.R.D.

493, 513 (S.D.N.Y. 1996). Plaintiffs have demonstrated their adequacy to serve by actively


       5
        See also AOL Time Warner, 2006 WL 903236, at *13 (where settlement fund is in
escrow earning interest, “the benefit of the Settlement will . . . be realized far earlier than a
hypothetical post-trial recovery”).


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participating in the litigation and supervising Co-Lead Counsel. For example, they have

produced thousands of documents; responded to interrogatories requests for admission; each

prepared and sat for 30(b)(6) depositions; reviewed pleadings and stayed apprised of case

developments; and guided Co-Lead Counsel throughout the litigation. June 2024 Brockett Decl.

¶ 3; see also generally Opening Cert. Br. at 11-12; Reply Cert. Br. at 69-72.

       As for Co-Lead Counsel, the Court previously reviewed their experience and resources in

appointing Interim Co-Lead Counsel. Op. & Order No. 4, ECF No. 99. In the years since that

appointment, Co-Lead Counsel have vigorously prosecuted the case—dedicating tens of

thousands of hours and tens of millions of dollars to the litigation. Co-Lead Counsel have

significant experience successfully leading antitrust class actions in this District and nationwide,

recovering billions for plaintiffs and receiving numerous accolades, from courts and in the form

of various awards, recognizing the quality of their work. See ECF Nos. 979-2, 979-3 (firm

resumes). Co-Lead Counsel have more than adequately represented the Settlement Class’s

interests and should be appointed as Settlement Class Counsel. See Rule 23(g); Rosi v. Aclaris

Therapeutics, Inc., 2021 WL 5847420, at *4 (S.D.N.Y. Dec. 9, 2021) (finding class counsel

adequate for purposes of Rule 23(e)(2)(A) where counsel participated in discovery, motion

practice, and prepared settlement documents).

               2.      Rule 23(e)(2)(B)—the New Settlement Agreement was negotiated at arm’s
                       length

       As discussed above, the New Settlement Agreement is the product of intensive, arm’s-

length negotiations. See supra § I.A.

               3.      Rule 23(e)(2)(C)—the monetary relief is adequate

       Rule 23(e)(2)(C) asks the Court to consider whether the relief provided for the proposed

Settlement Class is adequate, taking into account four factors:



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        (i) the costs, risks, and delay of trial and appeal; (ii) the effectiveness of any
        proposed method of distributing relief to the class, including the method of
        processing class-member claims; (iii) the terms of any proposed award of
        attorney’s fees, including timing of payment; and (iv) any agreement required to
        be identified under Rule 23(e)(3).

Fed. R. Civ. P. 23(e)(2)(C). Each factor supports preliminary approval.

        The costs, risks, and delay of trial and appeal. We discuss this factor above in Sections

I.B.1, I.B.3, I.B.4, and I.B.5. The $46 million monetary payment represents a respectable

recovery, taking into account the potential costs, risk, and delay associated with class

certification, trial, and appeal.

        Effectiveness of the proposed method of distributing relief. This factor requires the

Court to consider “the effectiveness of any proposed method of distributing relief to the class,

including the method of processing class-member claims.” Fed. R. Civ. P. 23(e)(2)(C)(ii). “A

claims processing method should deter or defeat unjustified claims, but the court should be alert

to whether the claims process is unduly demanding.” In re GSE Bonds Antitrust Litig., 414 F.

Supp. 3d 686, 694 (S.D.N.Y. 2019).

        As discussed above, Plaintiffs are not at this time asking the Court to review any

proposed notice or allocation plans. Plaintiffs will move separately for preliminary approval of

the notice and allocation plans before formal notice is sent out or any other steps are taken. Even

if this factor were nonetheless relevant to the limited motion currently before the Court, Plaintiffs

would need to show only a likelihood that the Court will be able to grant approval. Payment

Card, 330 F.R.D. at 28 n.21. The basis for such a finding can be found in the New Settlement

Agreement, which requires the Newly Settling Defendants’ assistance in the gathering of class

member contact information, see NSA ¶¶ 7.2. It also outlines expectations for a standard process

for receiving claim forms attested to under a penalty of perjury and subject to documentary

audits, see id. ¶ 7.6, to be overseen by an industry-leading Settlement Administrator appointed


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by the Court, see id. ¶ 7.3. This process, to be detailed further when Co-Lead Counsel move

separately for preliminary approval of the notice and allocation plans, will be adequate to deter

or defeat unjustified claims.

       The terms of any proposed award of attorneys’ fees. Though the New Settlement

Agreement reserves Co-Lead Counsel’s right to seek attorneys’ fees, no set amount of fees or

expenses is specified in the New Settlement Agreement itself. Co-Lead Counsel will seek fees

and expenses at an appropriate time, and Rule 23(h) requires the Court to vet the reasonableness

of Co-Lead Counsel’s eventual request. The New Settlement Agreement contains no provisions

that would permit Co-Lead Counsel to seek or receive unreasonable fees.

       Any agreement required to be identified under Rule 23(e)(3). This factor requires

courts to consider “‘any agreement required to be identified by Rule 23(e)(3),’ that is, ‘any

agreement made in connection with the proposal.’” GSE Bonds, 414 F. Supp. 3d at 696 (quoting

Fed. R. Civ. P. 23(e)(2)(C)(iv) and 23(e)(3)). Plaintiffs are not aware of the existence of any

agreement entered into between Plaintiffs and the Newly Settling Defendants bearing on the

proposal other than the New Settlement Agreement itself. Though it is not clear they fall into the

scope of Rule 23(e)(3), Plaintiffs note that the Newly Settling Defendants have certain rights in

the event that a material portion of the Settlement Class opts out, see NSA § 10, and the Newly

Settling Defendants benefit from a judgment-reduction provision, see NSA ¶ 11.21.

               4.      Rule 23(e)(2)(D)—the settlement treats class members equitably relative
                       to each other

       This Rule 23(e)(2) factor “could include whether the apportionment of relief among class

members takes appropriate account of differences among their claims, and whether the scope of

the release may affect class members in different ways that bear on the apportionment of relief.”

Fed. R. Civ. P. 23 advisory committee’s note to 2018 amendment. The New Settlement



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Agreement indisputably treats class members “equitably.” The New Settlement Agreement’s

release treats all members of the Settlement Class equitably relative to one another: Subject to

Court approval, all members of the Settlement Class will be giving the Newly Settling

Defendants an identical release. And importantly, the Newly Settling Defendants’ obligations

are fixed—at $46 million. This factor is thus met, as the settlement itself treats class members

equitably.

       To be clear, however, Plaintiffs will at a later date file a separate motion for preliminary

approval for a Plan of Allocation that will provide further details as to how the Net Settlement

Fund will be distributed. But the New Settlement Agreement makes clear that even the eventual

Plan of Allocation will remain distinct from the terms of the settlement itself. NSA ¶ 1.28.

       Where the settlement terms are themselves set, as here, the Second Circuit has even

approved of entering final approval of settlements without an allocation plan. See In re “Agent

Orange” Prod. Liab. Litig., 818 F.2d at 170 (“The prime function of the district court in holding

a hearing on the fairness of the settlement is to determine that the amount paid is commensurate

with the value of the case. This can be done before a distribution scheme has been adopted so

long as the distribution scheme does not affect the obligations of the defendants under the

settlement agreement.”). 6 Here, at the preliminary approval stage, the question is only whether

this Court will likely be able to approve the New Settlement Agreement, making it all the more

irrelevant that an allocation plan has not yet been proposed.




       6
          See also NASDAQ III, 187 F.R.D. at 480; Joseph McLaughlin, 2 McLaughlin on Class
Actions § 6:23 (18th ed. 2021) (“Because court approval of a settlement as fair, reasonable and
adequate is conceptually distinct from the approval of a proposed plan of allocation, however,
courts frequently approve them separately.”).


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II.     THE SETTLEMENT CLASS SHOULD BE CERTIFIED

        The Court made clear that its prior certification analysis “begins and ends with the issue

of predominance.” ECF No. 1054 at 11. As discussed below, that does not prevent the

certification of a class for settlement purposes. Indeed, the situation in In re American

International Group, Inc. Securities Litigation, 689 F.3d 229 (2d Cir. 2012) (“AIG”), is similar to

that presented here. There, the parties submitted a settlement for the district court’s preliminary

approval. Id. at 236. The district court denied the plaintiffs’ class certification motion for a

litigation class, and subsequently denied preliminary approval of the settlement without directly

considering the separate settlement motion. Id. The Second Circuit vacated the ruling, making

clear analyzing Rule 23(b)(3)’s predominance requirement in the context of a settlement class is

a radically different animal than doing so for a litigation class, as the difficulties of

individualized questions of proof “disappear.” Id. at 241, 243 (citing Amchem Prods., Inc. v.

Windsor, 521 U.S. 591, 620 (1997). In line with this logic, courts routinely approve settlement

classes after litigation classes have been denied. 7 A discussed below, all elements for class

certification are present here. This includes the predominance factor, which, again, was the sole

reason the Court did not allow the class to proceed to trial.



        7
           See, e.g., Mem. & Order, AIG I, No. 1:04-cv-8141-DAB (S.D.N.Y. Sept. 11, 2013),
ECF No. 714 (on remand); In re LIBOR-Based Fin. Instruments Antitrust Litig., 2018 WL
3475465 (S.D.N.Y. July 19, 2018); In re Dynamic Random Access Memory (DRAM) Antitrust
Litig., 2013 WL 12333442, at *56 (N.D. Cal. Jan. 8, 2013) (collecting cases); see also, e.g.,
Markson v. CRST Int’l, Inc., 2022 WL 805615, at *4 (C.D. Cal. Feb. 24, 2022) (in a settlement
class, “the Court need not determine the impact of the alleged antitrust violations on each class
member”); In re Lithium Ion Batteries Antitrust Litig., 2020 WL 7264559 (N.D. Cal. Dec. 10,
2020), aff’d, 2022 WL 16959377 (9th Cir. Nov. 16, 2022); In re New Motor Vehicles Canadian
Exp. Antitrust Litig., 269 F.R.D 80 (D. Me. 2010); compare, e.g., In re Capacitors Antitrust
Litig., 2020 WL 6462393 (N.D. Cal. Nov. 3, 2020) with Prelim. Approval Order, Capacitors,
No. 3:14-cv-3264 (N.D. Cal. Oct. 21, 2021), ECF No. 2827; In re Domestic Drywall Antitrust
Litig., 2017 WL 3700999 (E.D. Pa. 2017) with Prelim. Approval Order, Drywall, No. 2:L13-md-
02437 (E.D. Pa. June 6, 2018), ECF No. 743.


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       A.      The Requirements of Rule 23(a) Are Satisfied

               1.      The Settlement Class satisfies the numerosity requirement

       In cases like this one involving widely traded financial instruments, the Rule 23(a)(1)

numerosity requirement is readily satisfied. See Wallace v. IntraLinks, 302 F.R.D. 310, 315

(S.D.N.Y. 2014). Co-Lead Counsel estimate that there are thousands of members of the

proposed Settlement Class. See Opening Cert. Br. at 8.

               2.      There are questions of law and fact common to all Settlement Class
                       Members

       Rule 23(a)(2)’s commonality requirement is satisfied at least one question exists that is,

“capable of classwide resolution—which means that determination of its truth or falsity will

resolve an issue that is central to the validity of each one of the claims in one stroke.” Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). Courts routinely hold commonality exists in

antitrust claims where “allegations of the existence of . . . conspiracy are susceptible to common

proof.” Cordes & Co. Fin. Servs., Inc. v. A.G. Edwards & Sons, Inc., 502 F.3d 91, 105 (2d Cir.

2007). This case requires resolution of common questions relating to the existence, scope, and

effectiveness of the alleged conspiracy, as well as common questions related to whether class

members suffered injury in fact and the appropriate measure of class-wide damages. See

Opening Cert. Br. at 8-9. As such, commonality exists under Rule 23(a)(2).

               3.      Plaintiffs’ claims are typical of those of the Settlement Class

       Rule 23(a)(3) requires that, “the claims or defenses of the representative parties are

typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). This requirement is

satisfied when, “each [class] member’s claim arises from the same course of events, and each

class member makes similar legal arguments to prove the defendant’s liability.” In re Elec.

Books Antitrust Litig., 2014 WL 1282293, at *12 (S.D.N.Y. Mar. 28, 2014) (quoting Brown v.



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Kelly, 609 F.3d 467, 475 (2d Cir. 2010)). Typicality is “not highly demanding,” Dial Corp. v.

News Corp., 314 F.R.D. 108, 113 (S.D.N.Y. 2015), and is easily satisfied in antitrust cases

alleging a conspiracy in violation of Section 1 of the Sherman Act, In re Currency Conversion

Fee Antitrust Litig., 264 F.R.D. 100, 111 (S.D.N.Y. 2010) (collecting cases). Plaintiffs allege

Defendants conspired to boycott all-to-all anonymous trading platforms, causing class members

to pay artificially and anticompetitively inflated spreads. Accordingly, the typicality requirement

is satisfied. See Opening Cert. Br. at 9-11.

               4.      The Settlement Class is fairly and adequately represented

       As discussed supra, in Section I.C.1, Plaintiffs and Co-Lead Counsel have fairly and

adequately represented the Settlement Class as required by Rule 23(a)(4).

       B.      The Requirements of Rule 23(b)(3) Are Satisfied

       Rule 23(b)(3) permits a case to be litigated as a class action if (1) “questions of law or

fact common to class members predominate over any questions affecting only individual

members,” and (2) “a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Both requirements are met here.

               1.      Common questions of law and fact predominate

       In the context of a settlement-only class, the “‘intractable management problems’” that

must be considered for a comparable litigation class “drop out of the predominance analysis

because ‘the proposal is that there be no trial.’” AIG, 689 F.3d at 240 (quoting Amchem, 521

U.S. at 625). Rather, in settlement class certifications the focus shifts to “‘whether a proposed

class has sufficient unity so that absent class members can fairly be bound by decisions of class

representatives.’” Id. at 239 (quoting Amchem, 521 U.S. at 620).

       Predominance is satisfied “if resolution of some of the legal or factual questions that

qualify each class member’s case as a genuine controversy can be achieved through generalized


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proof, and if these particular issues are more substantial than the issues subject only to

individualized proof.” Roach v. T.L. Cannon Corp., 778 F.3d 401, 405 (2d Cir. 2015). It weighs

considerations such as class members’ interest in individually litigating their claims, and the

desirability of concentrating litigation in one forum, and the difficulties of managing a class

action, which, again, drop out of the calculus in a settlement-only class. Fed. R. Civ. P. 23(b)(3).

In a settlement class, “the certifying court must still determine whether the ‘legal or factual

questions that qualify each class member’s case as a genuine controversy’ are sufficiently similar

as to yield a cohesive class.” AIG, 689 F.3d at 240 (quoting Amchem, 521 U.S. at 623).

“[Predominance] is a ‘test readily met in certain cases alleging . . . violations of the antitrust

laws.’” Id. (quoting Amchem, 521 U.S. at 625).

       Here, there is no question that the class “has sufficient unity so that absent [class]

members can fairly be bound.” Id. at 239 (quoting Amchem, 521 U.S. at 621). All class

members’ potential individual actions share the same common question of liability for antitrust

violations that is being settled here, and all would face nearly identical questions (and risks) in

proving antitrust injury and damages, subject to proof through essentially the same transaction

data backing Plaintiffs’ class certification motion. Thus, the issues resolved classwide by this

settlement predominate by far over class members’ individual interests in litigation (which would

also not be prejudiced, given their opportunity to opt out of the class).

               2.      A class action is the superior method for resolving this case

       Finally, a case satisfies the superiority test if “the class device will achieve economies of

scale, conserve judicial resources, preserve public confidence in the integrity of the judicial

system by avoiding the waste and delay of repetitive proceedings, and prevent inconsistent

adjudications of similar claims.” Chhhab v. Darden Rests., Inc., 2016 WL 3004511, at *3

(S.D.N.Y. May 20, 2016). Superiority is an “‘explicitly comparative’ inquiry, requiring the court


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to consider alternatives to class settlement.” GSE Bonds, 414 F. Supp. 3d at 702 (quoting In re

Petrobras Sec., 862 F.3d 250, 268 (2d Cir. 2017)). 8 Where, as here, the significant cost of

prosecuting the case would render individual litigation uneconomical for many plaintiffs,

proceeding as a class is the superior to alternative methods of resolution. See Elec. Books, 2014

WL 1282293, at *23; see also Opening Cert. Br. at 59-60; Reply Cert. Br. at 73-74. Moreover,

the sheer size of the geographically disbursed Settlement Class, which contains thousands of

members, renders resolution as a class superior. See GSE Bonds, 414 F. Supp. 3d at 702.

         C.     Quinn and Cohen Should Be Appointed as Counsel for the Settlement Class

         “An order that certifies a class action . . . must appoint class counsel under Rule 23(g).”

Fed. R. Civ. P. 23(c)(1)(B). For the reasons discussed supra, in Section I.C.1, Plaintiffs request

that Quinn Emanuel Urquhart & Sullivan, LLP and Cohen Milstein Sellers & Toll PLLC be

appointed as counsel for the Settlement Class. Copies of our firm resumes were previously

submitted in connection with the Credit Suisse settlement. See ECF Nos. 979-2, 979-3.

III.     APPOINTMENT OF ESCROW AGENT, SETTLEMENT ADMINISTRATOR,
         AND RELATED RELIEF

         As part of the Preliminary Approval Order, Plaintiffs seek the Court’s preliminary

approval of Epiq Class Action & Claims Solutions, Inc. as the Settlement Administrator. See

Preliminary Approval Order ¶ 12. As discussed in connection with the Credit Suisse settlement,

Epiq is a nationally-recognized settlement administrator with a wealth of experience in

administering settlements involving complex financial instruments, including credit default

swaps, interest rate swaps and derivatives, and foreign exchange contracts. See Epiq Firm

Resume, ECF No. 979-4.



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       In the settlement context, the superiority inquiry does not require analysis of the
manageability of case at trial. See Amchem, 521 U.S. at 620.


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       Plaintiffs also ask that the Court approve the appointment of The Huntington National

Bank (“Huntington”) as the Escrow Agent. See Preliminary Approval Order ¶ 13. Huntington is

part of Huntington Bancshares, Inc., which is a large bank holding company and listed among

the S&P 500. Huntington’s National Settlement Team is one of the leading settlement account

programs in the country and has handled escrow accounts in countless class action settlements.

The Court should further approve the Settlement Fund as Qualified Settlement Funds (“QSFs”)

pursuant to Internal Revenue Code §468B and related Treasury Regulations. See id. ¶ 14.

       Finally, Plaintiffs ask that the Court approve disbursements from the Settlement Fund for

purposes of paying costs (other than attorneys’ fees) incurred in preparing and providing the

Settlement Class notice and paying other administrative expenses, including notice and

administration expenses incurred by the Claims Administrator up to $2.5 million prior to

effective date. See Preliminary Approval Order ¶¶ 15-16. 9 Such funds are not recoverable if the

settlement is terminated or does not become final. Id.

                                         CONCLUSION

       On the basis of the foregoing, Plaintiffs respectfully request that the Court grant

Plaintiffs’ Motion for Preliminary Approval of the New Settlement Agreement and enter the

Preliminary Approval Order also appointing the Escrow Agent and the Settlement Administrator,

and authorizing payment of certain administrative fees.

Dated: June 27, 2024                                 Respectfully submitted,

 COHEN MILSTEIN SELLERS & TOLL                       QUINN EMANUEL URQUHART &
 PLLC                                                SULLIVAN, LLP

 By: /s/ Michael B. Eisenkraft                       By: /s/ Daniel L. Brockett
 Michael B. Eisenkraft                               Daniel L. Brockett
 Sharon K. Robertson                                 Sascha N. Rand
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        After the Effective Date there are no limitations on Co-Lead Counsel’s use of the
Settlement Fund to pay reasonable and necessary notice and administration fees. Id.


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